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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,                               )
                                                     )
                              Plaintiff,             )
                                                     )    Civil Action No. l:17-cv-11008-MLW
                       v.                            )
                                                     )
CELLTRION HEALTHCARE CO., LTD.,                      )
CELLTRION, INC., and                                 )
HOSPIRA, INC.,                                       )
                                                     )
                              Defendants.            )
                                                     )
                                                     )


                                 NOTICE OF APPEARANCE

       Please enter an appearance for Dennis J. Kelly on behalf of Defendants Celltrion

Healthcare Co., Ltd., Celltrion, Inc. and Hospira Inc. in the above-captioned proceeding.


Dated: July 11, 2017                  /s/ Dennis J. Kelly
                                      Dennis J. Kelly
                                      Burns & Levinson LLP
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                                      Boston MA 02110
                                      (617) 345-3436
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                                CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on July 11, 2017.

                                                      /s/Dennis J. Kelly
                                                      Dennis J. Kelly, Esquire
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